      Case 1-16-42610-cec            Doc 273       Filed 09/24/18   Entered 09/25/18 14:10:26




UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
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In Re
                                                                    Case No. 16-42610-cec
                                                                    Chapter 11

        BRIGID GIAMBRONE


                                   Debtor.

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ORDER AMENDING THE COURT’S PRIOR ORDER GRANTING MCCORMICK 105,
       LLC RELIEF FROM THE AUTOMATIC STAY, NUNC PRO TUNC


        WHEREAS, on June 14, 2016, Brigid Giambrone (the “Debtor”) filed a voluntary petition

under chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”)(Dkt No.: 1); and

        WHEREAS, on August 4, 2017, this Court entered an order granting McCormick 105, LLC

relief from the automatic stay pursuant to section 362(d)(2) of the Bankruptcy Code with respect

to the property located at 18 Belfield Avenue, Staten Island, New York 10312 (the “Property”)

and thereby terminated said automatic stay with respect to McCormick and permitting McCormick

to exercise its rights under applicable state law with respect to the Property (Dkt No.: 192); and

        WHEREAS, on July 6, 2018, McCormick filed a motion pursuant to section 105 of the

Bankruptcy Code seeking to amend this Court’s order granting relief from the automatic stay

entered August 4, 2017 so as to provide, nunc pro tunc, relief from the automatic stay (Dkt No.:

247); and
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       WHEREAS, on September 12, 2018, a hearing (the “hearing”) was held during which the

Court heard oral arguments of the attorney for McCormick as well as the attorney for the Debtor

and made a Decision on the record:

       NOW, THEREFORE, it is hereby

       ORDERED, that, for the reasons set forth on the record at the hearing and upon this Court’s

Decision, the relief requested by McCormick is granted; and it is further

       ORDERED, that this Court’s prior order entered August 4, 2017 granting McCormick 105,

LLC relief from the automatic stay pursuant to section 362(d)(2) of the Bankruptcy Code is hereby

amended to grant such relief, nunc pro tunc.




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 Dated: Brooklyn, New York                                            Carla E. Craig
        September 24, 2018                                    United States Bankruptcy Judge
